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DECLARATION OF WILLIAM MORGAN

1. My name is William Morgan, and I am over the age of twenty-one, of sound
mind, and competent to execute this declaration.

2. I submit this declaration on behalf of Bio Gen, LLC (“Bio Gen”), in support
of plaintiffs’ motion for preliminary injunction.

3. I have personal knowledge of the facts set forth in this Declaration, or know
them in my capacity as president and managing member of Bio Gen, based on records
that Bio Gen keeps in the regular course of its business, and could and would competently
testify to them under oath if called as a witness.

4. Bio Gen is an Arkansas limited liability company with its principal place of
business located in Fayetteville, Arkansas.

5. Bio Gen is a hemp farm producing crops for itself in addition to providing a
variety of hemp flowers and consulting services to other Arkansas farmers.

6. Bio Gen is currently growing one acre of hemp in Arkansas for CBD.

7. Bio Gen will harvest the hemp from late August through early October 2023.

8. Bio Gen’s expected yield this year will be about 500lbs of dried flower, which
will be processed into about 50 kilos of fractional distillate.

9. Bio Gen has approximately 50 kilos of distillate and 400lbs of biomass from
a prior hemp harvest.

10. Bio Genalso sells salves and tinctures that are sold to consumers online and
in retail stores across the country, including in Arkansas.

11. Bio Gen generated approximately $20,000 in sales last year but was
expected to generate even more sales this year and in future years.

12. I have invested my entire retirement savings into Bio Gen.

EXHIBIT

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13. Asa result of Act 629, Bio Gen and its employees and members are in
jeopardy of criminal prosecution for possessing, shipping, transporting, packaging,
processing, and retailing its hemp products in Arkansas.

14. Bio Gen’s investment is exposed and threatened as Act 629 would render its
business and inventory of hemp-derived products utterly worthless in Arkansas.

15. Bio Gen would be irreparably harmed unless Act 629 is enjoined.

I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing
is true and accurate.

Executed on this 31°t day of July, 2023.

por

William Morgan
President and Managing Member
Bio Gen, LLC

